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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 NIKKO D’AMBROSIO,

           Plaintiff,
                                                      Case No. 1:24-cv-00678
                   v.
                                                      Hon. Sunil R. Harjani
 ABBIGAIL RAJALA, et al.,

           Defendants.


   SPILL THE TEA DEFENDANTS’ UNOPPOSED MOTION FOR LEAVE TO FILE
       INSTANTER MOTION TO DISMISS IN EXCESS OF THE PAGE LIMIT

       Pursuant to Local Rule 7.1, defendants Spill the Tea, Inc., Blake Milbrand, and Paola

Sanchez (the “Spill the Tea Defendants”), through their undersigned counsel, respectfully request

that the Court grant them leave to file instanter an oversized Motion to Dismiss the Second

Amended Complaint. In support of this unopposed motion, the Spill the Tea Defendants state as

follows:

       1.        On October 11, 2024, plaintiff Nikko D’Ambrosio (“Plaintiff”) filed his Second

Amended Complaint (Dkt. 53). Plaintiff’s Second Amended Complaint asserts six causes of action

against each of the Spill the Tea Defendants.

       2.        The Spill the Tea Defendants have prepared a joint motion to dismiss the Second

Amended Complaint. The joint motion to dismiss is 20 pages. It is attached as Exhibit A.

       3.        Local Rule 7.1 provides that “[n]either a brief in support of or in opposition to any

motion . . . shall exceed 15 pages without prior approval of the court.” N.D. Ill. L.R. 7.1.

       4.        The Spill the Tea Defendants seek leave to file their motion to dismiss in excess of

15 pages, as additional space is necessary for them to fully analyze their legal and factual
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arguments. The Second Amended Complaint asserts six causes of action against each of the three

Spill the Tea Defendants. Rather than filing three separate motions to dismiss, the Spill the Tea

Defendants have prepared a joint motion to dismiss addressing all claims asserted against them.

       5.      Counsel for the Spill the Tea Defendants have conferred with counsel for Plaintiff

regarding the relief sought in this motion. Counsel for Plaintiff has advised that they have no

objection to this motion.

       WHEREFORE, Defendants Spill the Tea, Inc., Blake Milbrand, and Paola Sanchez

respectfully request that this Court grant their motion for leave to file the Spill the Tea Defendants’

Rule 12(b)(6) Motion to Dismiss Plaintiff’s Second Amended Complaint (attached here as Exhibit

A) instanter and award all other relief that is proper under the circumstances.



 Dated: November 27, 2024                             Respectfully submitted,

                                                      SPILL THE TEA, INC.,
 Amanda N. Catalano                                   PAOLA SANCHEZ, and
 Megan E. Ryan                                        BLAKE MILLBRAND
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